                     IN THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                              SOUTHERN DIVISION
                                 No. 7:23-CV-897

 IN RE:

 CAMP LEJEUNE WATER LITIGATION
                                                     PLAINTIFF’S MOTION FOR PARTIAL
 This Document Relates to:                                SUMMARY JUDGMENT

 Merritt v. United States, No. 7:23-cv-1367-D




            PLAINTIFF’S MOTION FOR PARTIAL SUMMARY JUDGMENT

        On behalf of Plaintiff Deborah Merritt, who brings suit as representative of the Estate of

Richard Marsden, the Plaintiffs’ Leadership Counsel (“PLC”) under Rule 56 of the Federal Rules

of Civil Procedure and Local Civil Rules 7.1 and 56.1 hereby respectfully moves for partial

summary judgment and requests that the Court find that Ms. Merritt, who has been appointed as a

representative of an estate of a qualifying deceased individual by a Missouri state court, qualifies

as a “legal representative” who may bring an action under the Camp Lejeune Justice Act (“CLJA”).

        In support of this Motion, Plaintiff submits pursuant to Local Civil Rule 56.1(a)(1) a

separate statement, in numbered paragraphs, of the material facts as to which the movant contends

there is no genuine dispute. Plaintiff further submits Plaintiff’s memorandum of law in support of

motion for partial summary judgment filed contemporaneously herewith.

        Wherefore, Plaintiff requests that this Court should grant partial summary judgment that

Ms. Merritt qualifies as a proper “legal representative” within the meaning of the CLJA because

she has been appointed a legal representative of her father’s estate by a court of competent

jurisdiction.




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Dated: November 9, 2023                             Respectfully submitted,

/s/ John. F. Bash                                 /s/ J. Edward Bell
John F. Bash (admitted pro hac vice)              J. Edward Bell, III (admitted pro hac vice)
Quinn Emanuel Urquhart & Sullivan LLP             Bell Legal Group, LLC
300 W. 6th St., Suite 2010                        219 Ridge Street
Austin, TX 78701                                  Georgetown, SC 29440
Phone (737) 667-6100                              Phone (843) 546-2408
Fax (737) 667-6110                                Fax (843) 546-9604
johnbash@quinnemanuel.com                         jeb@belllegalgroup.com
Member, Plaintiffs’ Executive Committee           Lead Counsel
Co-Chair, Law and Briefing Subcommittee

/s/ Elizabeth Cabraser                            /s/ Zina Bash
Elizabeth Cabraser (admitted pro hac vice)        Zina Bash (admitted pro hac vice)
Lieff Cabraser Heimann & Bernstein, LLP           Keller Postman LLC
275 Battery Street, Suite 2900                    111 Congress Avenue
San Francisco, CA 94111                           Suite 500
Phone (415) 956-1000                              Austin, TX 78701
Fax (415) 956-1008                                Telephone: 956-345-9462
ecabraser@lchb.com                                zina.bash@kellerpostman.com
Co-Lead Counsel for Plaintiffs                    Co-Lead Counsel and Government Liaison

/s/ W. Michael Dowling                            /s/ Robin Greenwald_
W. Michael Dowling (NC Bar No. 42790)             Robin L. Greenwald (admitted pro hac vice)
The Dowling Firm PLLC                             Weitz & Luxenberg, P.C.
Post Office Box 27843                             700 Broadway
Raleigh, North Carolina 27611                     New York, NY 10003
Telephone: (919) 529-3351                         Telephone: 212-558-5802
Fax: (919) 529-3351                               rgreenwald@weitzlux.com
mike@dowlingfirm.com                              Co-Lead Counsel
Co-Lead Counsel

/s/ James A. Roberts, III                         /s/ Mona Lisa Wallace
James A. Roberts, III (N.C. Bar No.: 10495)       Mona Lisa Wallace (N.C. Bar No.: 009021)
Lewis & Roberts, PLLC                             Wallace & Graham, P.A.
3700 Glenwood Avenue, Suite 410                   525 North Main Street
P. O. Box 17529                                   Salisbury, North Carolina 28144
Raleigh, NC 27619-7529                            Tel: 704-633-5244
Telephone: (919) 981-0191                         Fax: 704-633-9434
Fax: (919) 981-0199                               Co-Lead Counsel
jar@lewis-roberts.com
Co-Lead Counsel




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